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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )            8:08CR175
                                                  )
       vs.                                        )              ORDER
                                                  )
JOHN GORDON,                                      )
CHERI HOOSE,                                      )
LEE ADKINS,                                       )
DAVID KENDALL,                                    )
SHELLY WEST and                                   )
TINA MORROW,                                      )
                                                  )
                     Defendants.                  )


       This matter is before the court on the motions to extend the time for filing pretrial
motions and to continue trial by defendants John Gordon (Filing No. 40), Cheri Hoose
(Filing No. 39), Lee Adkins (Filing No. 36), David Kendall (Filing No. 38), and Tina Morrow
(Filing No. 37). Defendants seek an extension of time until June 27, 2008, in which to file
pretrial motions in accordance with the progression order (Filing No. 24). Also sought is
a continuance of the trial scheduled for June 30, 2008. The motions will be granted.


       IT IS ORDERED:
       1.     The motions to extend (Filing Nos. 36, 37, 38, 39 and 40) are granted. All
defendants are given until June 27, 2008, in which to file any pretrial motions in
accordance with the progression order. The ends of justice have been served by granting
such motions and outweigh the interests of the public and the defendants in a speedy trial.
The additional time arising as a result of the granting of the motions, i.e., the time between
May 28, 2008 and June 27, 2008, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason defendants’ counsel
require additional time to adequately prepare the case, taking into consideration due
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diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       2.     The motions to continue the previously scheduled trial (Filing No. 40) is
granted. The trial date of June 30, 2008, is cancelled and will be rescheduled following the
disposition of any pretrial motions filed in accordance with this order.
       DATED this 28th day of May, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge




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